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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  SOUTHERN DIVISION


 CASA DE MARYLAND, INC., et al.,

                         Plaintiffs,
         versus                                          Case No. 20-2118-PX

 MAYORKAS, et al.,

                      Defendants.




      JOINT STATUS REPORT AND STIPULATION [AND PROPOSED ORDER]


       Pursuant to this Court’s paperless order dated April 12, 2022, ECF No. 170, the Parties

have met and conferred regarding Plaintiffs’ concerns about Defendants’ implementation of the

February 7, 2022 order in Asylumworks v. Mayorkas, No. 1:20-cv-03815-BAH, Dkt. No. 41, and

the implications for the above-captioned matter, and it is hereby stipulated and agreed, pursuant to

this Court’s approval:

       1) On or before June 1, 2022, Defendants shall provide Plaintiffs with a response to the

           specific concerns Plaintiffs raised in their email of April 13, 2022 and in their

           correspondence of May 9, 2022 regarding Defendants’ implementation of the

           Asylumworks order;

       2) On or before June 6, 2022, the Parties shall file a joint status report with the Court; and

       3) The status conference currently scheduled on May 17, 2022 shall be adjourned to the

           week of June 13, 2022 or as soon thereafter as is convenient for the Court.
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Dated: May 9, 2022

Respectfully submitted,

                                                                 /s/
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 Counsel for Defendants
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IT IS SO ORDERED.


________________________________________
PAULA XINIS
UNITED STATES DISTRICT JUDGE
